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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

WALT DISNEY PARKS AND
RESORTS U.S., INC.,

      Plaintiff,

v.                                  Case No. 4:23-cv-00163-MW-MAF

RONALD D. DESANTIS, in his
official capacity as Governor of Florida;
MEREDITH IVEY, in her official capacity
as Acting Secretary of the Florida
Department of Economic Opportunity;
MARTIN GARCIA, in his official capacity as
Board Chair of the Central Florida Tourism
Oversight District; MICHAEL SASSO, in his
official capacity as Board Member of the Central
Florida Tourism Oversight District; BRIAN
AUNGST, JR., in his official capacity as Board
Member of the Central Florida Tourism
Oversight District; RON PERI, in his official
capacity as Board Member of the Central Florida
Tourism Oversight District; BRIDGET ZIEGLER,
in her official capacity as Board Member of the
Central Florida Tourism Oversight District; and
JOHN CLASSE, in his official capacity as
Administrator of the Central Florida Tourism
Oversight District,

      Defendants.
_______________________________________________________/

                                 ORDER

      The Undersigned was assigned to serve as the United States

Magistrate Judge for the above referenced matter.            Because the
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undersigned is related in the third degree with someone who is employed by

one of the parties and, therefore, has a financial interest in the outcome of

this case, the undersigned hereby recuses himself from this matter pursuant

to 28 U.S.C. § 455 (b)(5)(iii). The Clerk of Court shall reassign this case to

another Magistrate Judge within this District given my recusal.

     DONE AND ORDERED on April 28, 2023.

                             s/ Martin A. Fitzpatrick
                             MARTIN A. FITZPATRICK
                             UNITED STATES MAGISTRATE JUDGE




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